UNDER GOD,

                                    CASE# 3:1 0-cr-00222



IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT

We the People of the United States,

Robert H. Rivernider, Jr./Counterclaimants,

V.


Christopher W. Schmeisser,

Defendant( s).




WRIT OF SCIRE FACIAS

AS A COUNTER-COMPLAINT

IN A FEDERAL CRIMINAL CASE




TO: Christopher W. Schmeisser,

Acting as an official representative of the United States government but without proper legal

authority.




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                               WRIT OF SCIRE FASCIAS
UNDER GOD,

                                     CASE# 3:1 0-cr-00222



In the name and under the signature of We the People, this Writ of Scire Facias is hereby

issued to command that you, Christopher W. Schmeisser, show cause why your actions in this

matter should not be deemed void, unlawful, and why you should not forfeit any claim to lawful

authority due to the following violations of the U.S. Constitution:




I. COUNTER-CLAIM FOR FAILURE TO POSSESS PRESIDENTIAL

COMMISSION

Violation of Article II, Section 2 of the U.S. Constitution

The U.S. Constitution mandates under Article II, Section 2 that all executive officers must be

appointed by the President of the United States, with the advice and consent of the Senate.

Christopher W. Schmeisser has acted in an official capacity, yet no Presidential Commission

has been issued to validate their authority. As such, all actions taken by the Defendant in this

capacity are unlawful and in violation of the Constitution.




II. FAILURE TO OBTAIN SENATE CONFIRMATION

Violation of Article II, Section 3 of the U.S. Constitution




                                                                                                   2
                                WRIT OF SCIRE FASCIAS
UNDER GOD,

                                     CASE# 3:1 0-cr-00222



Article II, Section 3 of the Constitution requires that certain public officials must be confirmed

by the U.S. Senate before assuming their duties. The Defendant, Christopher W. Schmeisser,

has failed to provide proof of Senate confirmation, rendering their exercise of authority as a

federal official illegitimate. This lack of confirmation voids any and all acts purportedly taken

under the color of federal office.




III. NO VALID COMMISSION FROM THE UNITED STATES

GOVERNMENT

Violation of Article VI, Section 2 of the U.S. Constitution

Under Article VI, Section 2 (the Supremacy Clause) of the U.S. Constitution, all government

officials are required to be bound by oath or affirmation to support the Constitution.

Furthermore, certain offices demand a valid commission, fiduciary bond, and oath of office

before duties can lawfully be exercised. The Defendant, Christopher W. Schmeisser, has failed

to provide any such commission, oath, or bond. This failure violates the core legal principles that

ensure the lawful exercise of authority in the U.S. government.




IV. FAILURE TO LOCATE THESE RECORDS



                                                                                                    3
                                 WRIT OF SCIRE FASCIAS
UNDER GOD,

                                      CASE# 3:1 0-cr-00222



On this day, October 21, 2024, the Custodian of Records did not locate any valid presidential

commission, Senate confirmation, or oath of office in the official records. Therefore,

Christopher W. Schmeisser is not qualified to hold office. By acting without these required

legal documents, the Defendant is unlawfully changing the form of government by operating

outside the constitutional framework established for federal officials.




V. DEMAND FOR PROOF OF LAWFUL AUTHORITY WITIDN 2 DAYS

You, Christopher W. Schmeisser, are hereby commanded to provide within 2 days:


    1. Proof of a valid Presidential Commission, as required by Article II, Section 2 of the

        Constitution.


    2. Proof of Senate Confirmation, as required by Article II, Section 3.


    3. Proof of a valid commission from the U.S. Government, an oath of office, and

        fiduciary bond, as required under Article VI, Section 2.




VI. DEFAULT WRIT OF FORFEITURE IF NO COMPLIANCE

If you fail to provide the requested proof within the 2-day period, a Writ of Forfeiture will be

entered against you by default. This forfeiture will result in:


                                                                                                   4
                                 WRIT OF SCIRE FASCIAS
UNDER GOD,

                                     CASE# 3:1 0-cr-00222



   •   Immediate forfeiture of office,

   •   Nullification of all actions taken by you under the pretense of federal authority,

   •   Legal claims for damages caused by your unlawful exercise of authority.




VII. RELIEF SOUGHT

Wherefore, We the People, as Counterclaimants, respectfully demand the following:

   1. A declaration that the Defendant's actions are void and that the Defendant is unlawfully

       acting without proper authority.

   2. An order compelling the Defendant to provide proof of the required Presidential

       Commission, Senate Confirmation, and oath and bond.

   3. Ifno compliance is provided within 2 days, an immediate Writ of Forfeiture removing

       the Defendant from office.

   4. Any other relief this Court deems appropriate and necessary under the circumstances.




                                                                                                 5
                                WRIT OF SCIRE FASCIAS
UNDER GOD,

                                     CASE# 3:1 0-cr-00222



Respectfully submitted,

We the People of the United States

Robert H. Rivernider, Jr.

c/o 14 S Bobwhite Rd., Wildwood, Florida [34785)

bobriver@icloud.com

Signature (Seal of We the People):   ~.Jjl\.J ~
Dated: October 21, 2024
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ISSUED BY ORDER OF THE COURT

DATED: October 21, 2024




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                             WRIT OF SCIRE FASCIAS
